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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,                                 )
                                               )
               Plaintiff,                      )
                                               )      Civil Action No. 2:21-CV-463-JRG
       vs.                                     )
                                               )      JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD.,                 )
SAMSUNG ELECTRONICS AMERICA,                   )
INC., SAMSUNG SEMICONDUCTOR,                   )
INC.,                                          )
                                               )
               Defendants.                     )

               PLAINTIFF NETLIST, INC.’S NOTICE OF COMPLIANCE

       Plaintiff Netlist, Inc. (“Netlist”) hereby notifies the Court that on June 8, 2022, Netlist has

complied with the Court’s Docket Control Order (Dkt. 34), by serving its Initial and Additional

Disclosures on counsel for Defendants Samsung Electronics Co., Ltd., Samsung Electronics

America Inc., and Samsung Semiconductor, Inc. via electronic mail.




Dated: June 8, 2022                                Respectfully submitted,

                                                   /s/ Jennifer L. Truelove
                                                   Jennifer L. Truelove

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                                               Attorneys for Plaintiff Netlist, Inc.


                                CERTIFICATE OF SERVICE

       I hereby certify that, on June 8, 2022, I caused the electronic filing of the foregoing with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all counsel of

record who are registered with the CM/ECF system.

                                                             /s/ Jennifer Truelove
                                                             Jennifer Truelove




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